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 March 15, 2022                                                                                                   D: +1 310 246 6850
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 VIA ECF

 The Honorable Brian M. Cogan
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Re:       United States v. Thomas J. Barrack
           Criminal Docket No. 1:21-CR-371-2 (BMC)

 Dear Judge Cogan:

 We write regarding (1) the upcoming status conference in this case, which is currently
 scheduled to take place in person on March 22, 2022 at 5 p.m., (2) the pending motions to
 dismiss that were filed by Mr. Barrack and Mr. Grimes (Docket Nos. 67 and 69), and (3) the
 Curcio letter that was filed earlier today by the government (filed under seal).

 Counsel for Mr. Barrack has conferred with counsel for Mr. Grimes and counsel for the
 government about the status conference. The parties respectfully request the Court to advise
 the parties whether the Court intends to hear argument on the pending motions to dismiss at the
 March 22 status conference, or whether it intends to set a separate date (if it intends to hear
 argument on those motions).

 If the Court does not intend to hear argument on the motions on that date, the parties
 respectfully request that the March 22 status conference be held remotely by videoconference.

 Finally, counsel for Mr. Barrack would like an opportunity to respond to the government’s March
 15 Curcio letter. The parties have conferred and propose that counsel for Mr. Barrack file our
 response to the Curcio letter by Friday, March 25 (or whatever date is most convenient for the
 Court), and that any hearing (if one is necessary) be scheduled after that response is filed.

 Respectfully submitted,


 /s/ Daniel M. Petrocelli

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